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-for the SEP “5 pia.
homeless 8h nen. og
September 4, 2018
TO: United States District Court, Southern District, \% we 120b ( pro Se)

FROM: Tony Taylor,
RE: Xue Ji He,
Dear: Sir/Madam,

1am writing in regards to Ms. Xue Ji He who has been a client of the Coalition for the
Homeless. My client has informed me that she has provided a deposit/security to the
defendant in a case she has in the Civil Court. My client is Homeless and has absolutely no funds
at this time and is being asked to provide funds that she assuredly does not have at this time.
My client is homeless and utilizes our services as she has volunteered at various organizations
helping those in need.

lam requesting the court takes these facts into consideration when passing judgement
regarding my client if a case is presented. My client is in need of all the assistance she may be
afforded by your court. | urge your office to assist my client to the best of your ability as she has
found it extremely difficult here. My client receives all correspondence at:

Xue Jie He
40 Ann Street
New York, NY 10038

My client is also providing assistance to churches as she cannot work because of her status
and volunteering keeps her engaged physically mentally and emotionally.

Thanking you in advance:

 

Program Director.

Crisis intervention
XUE JIE: HO -

212.776.2000 | fax 212.964.1303 | 129 fulton street new york, new york 10038 | www.coalitionforthehomeless.org

 
